
611 So.2d 1118 (1992)
Ex parte T.J.
(Re T.J. v. State).
1911526.
Supreme Court of Alabama.
December 31, 1992.
Ben C. Hand, Jr., Auburn, for petitioner.
James H. Evans, Atty. Gen., for respondent.
Prior report: Ala.Cr.App., 611 So.2d 1116.
ADAMS, Justice.
The petition for writ of certiorari is denied.
In denying the petition for writ of certiorari, this Court does not wish to be understood as approving all the language, reasons, or statements of law in the Court of Criminal Appeals' opinion. Horsley v. Horsley, 291 Ala. 782, 280 So.2d 155 (1973).
WRIT DENIED.
HORNSBY, C.J., and ALMON, STEAGALL and INGRAM, JJ., concur.
